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                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES - GENERAL
 Case No.       SACV 20-00929JVS(ADSx)                                      Date     September 9, 2020
 Title          Lawanda M Carter v United States

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